                   UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF ALABAMA

IN RE:                             )     CHAPTER 13
    ALLEN FORD LEWIS               )
                                   )     CASE NO. 16-02905-JCO-11
                Debtor(s).         )

                 NOTICE OF DEFAULT AND RIGHT TO CURE

     Now Comes, SHEFFIELD FINANCIAL , a creditor herein, by its

attorneys, Chambless Math  Carr, P.C., pursuant to the Conditional

Order   Terminating   Stay   previously     entered    by   this     Court   and

certifies that the debtor is in default as follows:

     DATE DUE: MAY 1, 2017 - DECEMBER 1, 2017

     AMOUNT DUE: $1,320.00

     AMOUNT PAID: $500.00

     AMOUNT DELINQUENT: $820.00

     The debtor and counsel are hereby notified that per the terms

of the aforesaid order that unless said default along with all

other payments coming due after that date of this default are cured

within 20 days, that the stay shall lift pursuant to the terms of

the order without further notice or hearing to the debtor.

                                   SHEFFIELD FINANCIAL

                                   By: /s/ Leonard N. Math

Of Counsel:
Chambless Math  Carr, P.C.
P.O. Box 230759
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334-272-2230
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                          CERTIFICATE OF SERVICE

     The undersigned certifies that the foregoing instrument was

served on all attorneys of record as set forth below by electronic

notice and\or depositing a copy thereof in the United States mail

postage prepaid on December 19, 2017.

Irvin Grodsky
Attorney At Law
P.O. Box 3123
Mobile AL 36652

ALLEN FORD LEWIS
4880 WAYNE ROAD
SWEET WATER AL 36782


                           /s/ Leonard N. Math
                           Chambless Math  Carr, P.C.




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